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                                 NO. 19-2121

                    UNITED STATES COURT OF APPEALS
                       FOR THE SEVENTH CIRCUIT

PAMELA E. VEAL-HILL
Petitioner-Appellant

v.

COMMISSIONER OF INTERNAL REVENUE
Respondent-Appellee

                   Appeal from the United States Tax Court,
                              Case No. 1517-17
                   The Honorable Judge Richard T. Morrison

                 BRIEF AND REQUIRED SHORT APPENDIX OF
                         PETITIONER-APPELLANT,
                          PAMELA E. VEAL-HILL


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                              Attorneys for the
March 19, 2020                Petitioner-Appellant, Pamela E. Veal-Hill
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                                 APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

Appellate Court No: 19-2121
                    _______________

Short Caption: _________________________________________________________________________________________
               Veal-Hill v. Commissioner

   To enable the judges to determine whether recusal is necessary or appropriate, an attorney for a non-governmental party, amicus curiae,
intervenor or a private attorney representing a government party, must furnish a disclosure statement providing the following information
in compliance with Circuit Rule 26.1 and Fed. R. App. P. 26.1.

   The Court prefers that the disclosure statements be filed immediately following docketing; but, the disclosure statement must be filed
within 21 days of docketing or upon the filing of a motion, response, petition, or answer in this court, whichever occurs first. Attorneys are
required to file an amended statement to reflect any material changes in the required information. The text of the statement must also be
included in the front of the table of contents of the party’s main brief. Counsel is required to complete the entire statement and to use
N/A for any information that is not applicable if this form is used.

          [     ]   PLEASE CHECK HERE IF ANY INFORMATION ON THIS FORM IS NEW OR REVISED AND
                    INDICATE WHICH INFORMATION IS NEW OR REVISED.

(1)       The full name of every party that the attorney represents in the case (if the party is a corporation, you must provide the corporate disclosure
          information required by Fed. R. App. P. 26.1 by completing item #3):
          ________________________________________________________________________________________________________
           Pamela E. Veal-Hill

          ________________________________________________________________________________________________________

(2)       The names of all law firms whose partners or associates have appeared for the party in the case (including proceedings in the district court or
          before an administrative agency) or are expected to appear for the party in this court:
          ________________________________________________________________________________________________________
           Edward A. Williams & Associates, Ltd. 1 S. Leavitt St, Unit 207 Chicago, IL 60612

          ________________________________________________________________________________________________________
          Crystal L. Johnson Law Office of Crystal L. Johnson 9800 Connecticut Drive Crown Point, IN 46307

(3)       If the party, amicus or intervenor is a corporation:

          i)        Identify all its parent corporations, if any; and

                     N/A
                    ________________________________________________________________________________________________

          ii)       list any publicly held company that owns 10% or more of the party’s, amicus’ or intervenor’s stock:

                     N/A
                    ________________________________________________________________________________________________

(4)       Provide information required by FRAP 26.1(b) – Organizational Victims in Criminal Cases:

          ________________________________________________________________________________________________________
           N/A

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          ________________________________________________________________________________________________________
          N/A



                      /s/Edward A. Williams
Attorney’s Signature: ________________________________________       03/19/2020
                                                               Date: ________________________________________

Attorney’s Printed Name: __________________________________________________________________________________
                         Edward A. Williams

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).         ✔ No _____
                                                                                                           Yes _____

         1 S. Leavitt St, Unit 207
Address: ______________________________________________________________________________________________

          ________________________________________________________________________________________________________
           Chicago, IL 60612

              312-754-0109
Phone Number: ________________________________________ Fax Number: ______________________________________
                                                                   312-600-6112

                eawassociates@att.net
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                                 APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

Appellate Court No: 19-2121
                    _______________

               Veal-Hill v. Commissioner
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          information required by Fed. R. App. P. 26.1 by completing item #3):
          ________________________________________________________________________________________________________
          Pamela E. Veal-Hill

          ________________________________________________________________________________________________________

(2)       The names of all law firms whose partners or associates have appeared for the party in the case (including proceedings in the district court or
          before an administrative agency) or are expected to appear for the party in this court:
          ________________________________________________________________________________________________________
          Edward A. Williams Edward A. Williams & Associates, Ltd.

          ________________________________________________________________________________________________________
          Crystal L. Johnson Law Office of Crystal L. Johnson

(3)       If the party, amicus or intervenor is a corporation:

          i)        Identify all its parent corporations, if any; and

                    N/A
                    ________________________________________________________________________________________________

          ii)       list any publicly held company that owns 10% or more of the party’s, amicus’ or intervenor’s stock:

                    N/A
                    ________________________________________________________________________________________________

(4)       Provide information required by FRAP 26.1(b) – Organizational Victims in Criminal Cases:

          ________________________________________________________________________________________________________
          N/A

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          N/A
          ________________________________________________________________________________________________________



                      /s/Crystal L. Johnson
Attorney’s Signature: ________________________________________       03/19/2020
                                                               Date: ________________________________________

Attorney’s Printed Name: __________________________________________________________________________________
                         Crystal L. Johnson

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).         ✔ No _____
                                                                                                           Yes _____

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                           JURISDICTIONAL STATEMENT


       This is a direct appeal from an Order and Decision of the United States Tax Court
(A1). The jurisdiction of the US Tax Court was invoked pursuant to Internal Revenue
Code § 6213(a) and 6214(a). This Appeal is pursuant to a Notice of Appeal, filed on June
7, 2019, under Rule 190 of the US Tax Court. The US Tax Court’s final Order and
Decision was dated April 24, 2019.




                               STATEMENT OF ISSUES

(1)    Exhaustion of Administrative Remedies. Whether the US Tax Court’s Order
and Decision, dated April 24, 2019, is clearly erroneous where the Court concluded that,
“We therefore hold that Veal-Hill did not exhaust the administrative remedies available
to her within the IRS. This precludes her from any recovery of litigation costs. See sec.
7430(b)(1).”


(2)    Jurisdiction. Whether the US Tax Court had jurisdiction to render a decision in
regard to Hill’s Petition for Attorney’s Fees pursuant to Internal Revenue Code § 7430
and Intentional Infliction of Emotional Distress and Other Relief.




                             STATEMENT OF THE CASE

       This case began on or about August 31, 2015, when Petitioner-Appellant, Pamela
E. Veal-Hill (“Hill”) received Letter 3573 (A2), from the Department of Treasury,
Internal Revenue Service (“IRS”) signed by Thomas Matias, Examining Officer, we
assume Revenue Agent (“RA”), requesting voluminous financial data to conduct an




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audit of Hill’s 2013 and 2014 Individual Tax Returns, Forms 1040; and, 2013 business tax
return, Form 1120S.


       Hill submitted all of the requested financial data that her tax preparer, Mr.
Sherwin Clark (“Clark”), used to prepare her returns and Hill participated in the audit
during the period of investigation by RA.


       On or about July 19, 2016, Hill received Letter 950 (A3), signed by Carol L.
Madison, Director, Midwest Area, Field Exam, stating that RA’s audit was concluded
and issued an examination report showing proposed changes, resulting in an additional
tax liability of approximately $100,000.


       At first, Hill was overwhelmed and shocked at the proposed changes that had a
response date of August 18, 2016, but after rereading the last paragraph of the
correspondence, which stated:


       “If you don’t reply by the response due date

        We’ll process your case based on the proposed changes and send you a notice of deficiency.
The notice normally gives you 90 days to either agree to the deficiency or file a petition with the
United States Tax Court. If you petition the Tax Court, you’ll generally have the opportunity for
a pretrial settlement. If you can’t reach a settlement agreement, your case will be heard in court.
If you don’t file a petition during the 90-day period after you receive the notice of deficiency, we’ll
assess the amount on the notice of deficiency, and you’ll have to pay the full amount you owe or
make payment arrangements.”


       Hill, a retired Circuit Court Judge (see A4, Curriculum Vitae and A5, Brief Bio),
wisely chose to have the impartiality and expertise of the US Tax Court rather than the
IRS. When Hill received the “90 day” Letter dated December 8, 2016 (A6), with a
response dated of March 8, 2017, she filed a Pro Se Petition (A7), on January 23, 2017;
and, thereafter Hill wisely retained Edward A. Williams of Edward A. Williams &




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Associates, Ltd. and Crystal L. Johnson of Law Office of Crystal L. Johnson to represent
her before the US Tax Court.




                               SUMMARY OF ARGUMENT


   1. The United States Tax Court has jurisdiction over the IRS’ determination of a tax
       deficiency on the date on which a Petition is filed pursuant to Internal Revenue
       Code § 6213(a).


   2. There are no Statutory provisions divesting the Tax Court’s jurisdiction once
       vested.


   3. A common law Tort joining the Commissioner of the Internal Revenue as a
       Respondent and direct cause of the common law Tort, is a separate claim which
       is properly brought pursuant to Internal Revenue Code § 7430 and is therefore
       protected from dismissal by the Due Process Clause of the 14th Amendment of
       the United States Constitution.




                                      ARGUMENT

       The Tax Court’s reasons for the denial of Petitioner-Appellant, Pamela E. Veal-
Hill’s (“Hill”), Motion for Reasonable Litigation or Administrative Costs because of lack
of the Court’s jurisdiction are at best a spurious sophism. IRC § 6213(a) is clear,
unambiguous, and contradicts the Court’s reasoning.


       On July 17, 2019, Edward A. Williams (“Williams’), attended a two and a half (2
1/2) hour mediation conference (via phone) during which the issue of the Tax Court’s

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jurisdiction was discussed in great detail. The mediator requested a response from
Williams in regard to two questions: 1) Does the US Tax Court have jurisdiction over
the above-captioned matter? 2) Why is this matter a litigation risk (hazard)? On August
19, 2019, Williams forwarded the response (A8) to Mr. Rocco Spagna, Mediator, and
Attorney Julie Ciamporcero Avetta.


       This argument will be solely in support of Count II of Hill’s Motion for
Attorney’s Fees pursuant to Internal Revenue Code § 7430 and Intentional Infliction of
Emotional Distress and Other Relief



                                STANDARD OF REVIEW


       This Court reviews the US Tax Court’s denial of Hill’s Motion for Reasonable
Litigation or Administrative Costs (June 25, 2018) (A1) and Motion for Leave to File
Reply to Respondent’s Response to Motion for Reasonable Litigation or Administrative
Costs (April 4, 2019) (A1) under the clearly erroneous standard.


       Pursuant to Fed.R.App.P. Rule 28(a)(8)(B), Petitioner-Appellant, Hill states as
follows:


       Every legal scholar, common man, and woman knows that our Western culture
and laws are premised upon the Jewish/Christian Ethic. That Ethic is printed on our
money; “In God We Trust”.


       This Ethic began when God gave a Black man from Egypt, named Moses, on top
of a hill named Mount Sinai, a Tablet of Ten (10) Laws to govern the Jewish people and
its institutions.


       One of the laws was succinctly stated:

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       “Thou Shall Not Steal”.


        Thereafter, a Jewish man named Jesus Christ told the Jews and all people,
“19 Show me the coin used for paying the tax.” They brought him a denarius, 20 and he asked
them, “Whose image is this? And whose inscription?” 21 “Caesar’s,” they replied. Then he said
to them, “So give back to Caesar what is Caesar’s, and to God what is God’s” (Matthew 22:19-
21). Jesus did not say what he or Caesar should receive but, the unarticulated premise
must be:


        “Thou Shall Not Steal”.


       The first Federal Statute to provide for a personal income tax was The Revenue
Act of 1861(formally cited as Act of August 5, 1861, Chap. XLV, 12 Stat. 29), which was
enacted to finance the Civil War and was repealed in 1872.


       The Sixteenth (16th) Amendment was enacted in 1913, 50 years after the “Civil
Rights Amendments” of the 1860s; particularly, the Fourteenth (14th) Amendment. The
Sixteenth (16th) Amendment gave Congress the power to lay and collect taxes on
incomes, from whatever sources derived, without apportionment among the several
States and without regard to any census or enumeration.


       The Sixteenth (16th) Amendment also created the United States Tax Court and the
Administrative Agency, Internal Revenue Service (“IRS”), with the “Power” to
determine and collect taxes, and “Punish” Taxpayers criminally and civilly, for the
failure to report their income and proper, pursuant to Statutes, deductible expenses
voluntarily and accurately. The Commissioner is the person who is the head of the IRS
and therefore the Respondent in any suits against the IRS.



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       The US Tax Court is a judicial arm and is the sole Court of Appeal for disputes
arising within the IRS. It also has the jurisdiction and Duty to correct any errors of the
IRS that collects more than their fair share of taxes, as dictated by the implicit
Commandment:


       “Thou Shall Not Steal”.


       The Commissioner has the “God given Duty” and, therefore has the highest
standard of conduct in discharging that one Duty, as opposed to the standard of
“vicarious liability” imposed upon the United States of America for Torts committed by
its Agents. Those Torts are appropriately filed pursuant to the Federal Tort Claims Act
and are heard in the US District Courts.


       That is why the factual and direct liability issues created by the action of IRS
employees must be heard in the US Tax Court. The IRS employs agents to handle
different aspects of the functions of its mission, to lay and collect the correct amount of
taxes from its citizens; and, Revenue Agents (RA) determine and assess the correct
amount of taxable income through its power to audit returns filed voluntarily or not.
That is the reason that tax professionals refer to RAs as the “United States Marine
Corps” of the IRS.


       Revenue Officers (“RO”) function is to collect taxes after the amounts are
assessed by the IRS, whether the amounts are correct or not in that the figures may
change subject to an audit by a RA.


       Before I discuss further the Duty and breach thereof by the Commissioner, I must
impose upon the Record a brief soliloquy of my personal and professional experience in
the accounting professions with the people, practices, and procedures of the IRS during
my 56 years of practice, first as a CPA in 1964; and, thereafter, an attorney in 1967.

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        I was born in Chicago, IL, in 1940 and raised in the Robert Brooks Public Housing
Project which was three blocks North of the “South Water Market” (“The Street”) at 14th-
16th South Racine; and, I attended St. Joseph, an all-Black Catholic grammar school
located at 1413 S. Loomis, three blocks West of The Street and in the “Back Yard” of Holy
Family Catholic Parish.


        My grandfather and father were AME Methodist ministers who immigrated from
the slave state of Mississippi during the Great Migration of Blacks to Chicago at the dawn
of the First World War and we were raised by their Ethics: “Bible and Work”. My brother
and I were awake each morning at 4am to Work as assistant janitors for our dad (without
pay).


        When I was six (6) years old, I began my schooling at St. Joseph school with my
then only brother who is three (3) years older than me. When I was eight (8) years old,
he and I were responsible for cleaning the offices at West Lawn Produce Co. while our
dad cleaned other offices on The Street.


        My dad and the bookkeeper for West Lawn, Joseph G. Gordon (“Uncle Joe”), a
Reform Jew, would discuss their religion while I cleaned the offices and they became
friends. When I was ten (10) years old, Uncle Joe gave me his 1918 Accounting 101
book and told me to read the book and I could become his assistant and he would teach
me accounting, and I did and he did.


        I went to DePaul College of Commerce in September 1957, fresh out of the 1st
Trumpet Chair of the John Marshall High School Band and Orchestra, with the
intention of majoring in music with a minor in accounting; but my dad had his first
heart attack and my older brother enlisted in the Marine Corp the year before. Luckily,
I still worked for Uncle Joe as an assistant bookkeeper and earned enough to take care

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of my family (my mother, eight sisters, and one younger brother); and, albeit on
installments, pay tuition at DePaul.


       I switched my major to accounting and discovered that I was the only Black
student majoring in accounting at the College of Commerce. Luckily, I became friends
with two people in the top of the class that I knew were smarter than me, Ian H. Levin
and Charles P. Kocoras. Also, I knew Michael Gordon, whose family owned a store on
The Street.


       All of them had as their academic plans to obtain degrees in accounting because
it was required for the Revenue Agent position. Also, it was the cheapest Masters
degree in the Tax program, in that you were able to work at the IRS for at least three (3)
years and receive compensation.


       Upon graduation in 1962, I chose to sit for the CPA exam because it was my way
of thanking Uncle Joe for giving me my first Accounting book and job. Also, because I
could not afford to take care of my family on an IRS RA salary limitation and because at
that time and I believe it is now, that although you are successful and earn a CPA
certificate, the candidate must serve a one (1) year internship with a licensed CPA
before the candidate could practice for the public.


       I was successful and earned the CPA certificate during September 1963 and went
to DePaul’s job fair and applied with Arthur Anderson & Co. (the Marine Corp of the
Accounting firms) to serve my internship but was denied employment due to the color
of my skin.


       That incident was the reason why I investigated the accounting profession and
discovered that the Uniform Licensing Statute was enacted in 1923 and in 1963, I was #84
of the first 100 Blacks in the United States and #23 of the first 100 in the State of Illinois to

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pass the CPA exam and become licensed to practice. I immediately enrolled in DePaul’s
Law School in September 1963.


           I also told Uncle Joe of the incident and he told me about the anti-Semitism in the
accounting profession and called his classmate, Mr. Alexander Eulenberg, who co-
authored the 1939 Federal Income Tax Act and was the managing partner of the
predominately Jewish CPA Firm, David M. Himmelblau & Co.


       Uncle Joe told him (in Yiddish) that he trained me, a Black man; and, I was hired
later that day. Thereafter, I obtained my Illinois license after 1 year and a day of accepting
the job.


       While in law school, I began my part-time professional practice as a CPA before
the IRS on behalf of my community in 1964 and was admitted to the Illinois Bar in 1967
while employed in Corporate America (because they reimbursed the tuition for law
school).


           During my 56 years as a CPA/Attorney, I have never encountered a RA that
presented the extreme and outrageous facts that I now address.


       On August 24, 2018, Commissioner filed Respondent’s Response to Hill’s Motion
for Attorney’s Fees pursuant to Internal Revenue Code § 7430 and Intentional Infliction
of Emotional Distress and Other Relief and included a copy of 26 US Code § 61 - Gross
Income defined (pertinent parts in A9) which I know includes and states that “Gross
Income means all income from whatever source derived….” It does not provide for or
list a specific item, Other Income as the Commissioner states in its Respondent’s
Response to Hill’s Motion for Attorney’s Fees and lists in Exhibit “E” Form 4549-A –
0027 “Other Income” at $81,237 and a totally false explanation of the item Exhibit “E” –
0029 (A10).

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       On September 5, 2018, Hill filed a Motion for Proposed Amendment to the
Petitioner’s Motion for Attorney’s Fees pursuant to Internal Revenue Code § 7430 and
Intentional Infliction of Emotional Distress and Other Relief (A11). Included in Hill’s
Motion as Exhibit “I” is RA’s working paper which he reflects $66,000, approximately
81% of other income of $81,719.30 is an “unreconciled deposit”.


       Hill’s September 5, 2018 Motion clearly shows RA’s lack of basic accounting
skills and his lack of job responsibility as a RA to reconcile all unreconciled items
because, it is the Burden of Proof for the government to prove income, otherwise they
violate the basic commandment:


       “Thou Shall Not Steal”.


       First, RA did not sustain his burden of proof of unreconciled income as indicated
in his own working papers and shows his total lack of knowledge of basic accounting
principles and auditing procedures.


       Second, the report also shows that he also lacked “common sense” which is the
elementary requirement for all federal Agents who have the “God given Duty”. RA
should have known that the Taxpayer was not Al Capone.


       RA should have known that the “Al Capone” theory of determining unreported
income is premised on a presumption of known illegal activities and the correct
“calculation” by RAs of such income from those activities which is taxable.


       If RAs like Kocoras, Levin, and Gordon had been supervising the RA, they
would not have allowed a Report to be issued in the first place.



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       Finally, the audit report prepared by RA and approved by his supervisor shows
a total lack of knowledge and therefore is the strict proof of the beach of the
Commissioner’s Duty, which is the seminal seed for the Tort of Intent and the direct
causation was the Report itself.




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                                   CONCLUSION

      Accordingly, Hill respectfully asks this Court to reverse and remand for a
Hearing on Count II of IRC § 7430 the US Tax Court’s Order and Decision of April 24,
2019 denying her June 25, 2018 Motion for Reasonable Litigation or Administrative
Costs and April 4, 2019 Motion for Leave to File Reply to Respondent’s Response to
Motion for Reasonable Litigation or Administrative Costs.


Dated: March 19, 2020             PAMELA E. VEAL-HILL,
                                  PETITIONER-APPELLANT


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                                  /s/Crystal L. Johnson
                                  Crystal L. Johnson
                                  9800 Connecticut Dr, Crown Point, IN 46307
                                  Phone: (219)213-6774 Fax: (219)213-6775

                                  Attorneys for the
                                  Petitioner-Appellant, Pamela E. Veal-Hill




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   CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMIT, TYPEFACE
           REQUIREMENTS, AND TYPE-STYLE REQUIREMENTS

This document complies with the type-volume limit of Fed. R. App. P. 32(a)(7)(B),
the word limit of Fed. R. App. P. 5(c)(1) because, excluding the parts of the
document exempted by Fed. R. App. P. 32(f) this document contains 2880 words.

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and the type-style requirements of Fed. R. App. P. 32(a)(6) because this document
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points and Book Antiqua font.




Dated: March 19, 2020            EDWARD A. WILLIAMS & ASSOCIATES, LTD.

                                  /s/Edward A. Williams
                                  Edward A. Williams
                                  1 S. Leavitt St, Unit 207 Chicago, IL 60612
                                  Phone: (312)754-0109 Fax: (312)600-6112
                                  Email: eawassociates@att.net

                                  LAW OFFICE OF CRYSTAL L. JOHNSON, LLC

                                  /s/Crystal L. Johnson
                                  Crystal L. Johnson
                                  9800 Connecticut Dr, Crown Point, IN 46307
                                  Phone: (219)213-6774 Fax: (219)213-6775
                                  Email: crystal@cljlawoffice.com

                                  Attorneys for the
                                  Petitioner-Appellant, Pamela E. Veal-Hill




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                                 PROOF OF SERVICE


       The undersigned, counsels for the Petitioner-Appellant, Pamela E. Veal-Hill,
hereby certify that on March 19, 2020, we electronically filed the Brief and Circuit Rule
30(a) Appendix with the Clerk of the Court for the United States Court of Appeals for
the Seventh Circuit by using the CM/ECF system. We certify that all participants in the
case are registered CM/ECF users and that service will be accomplished by the
CM/ECF system.



Dated: March 19, 2020              EDWARD A. WILLIAMS & ASSOCIATES, LTD.

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                                   Attorneys for the
                                   Petitioner-Appellant, Pamela E. Veal-Hill




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                          CIRCUIT RULE 30(d) STATEMENT

Pursuant to Circuit Rule 30(d), counsels certify that all material required by Circuit
Court Rule 30(a) and (b) are respectfully included in the Appendix.




                                   EDWARD A. WILLIAMS & ASSOCIATES, LTD.

                                   /s/Edward A. Williams
                                   Edward A. Williams
                                   1 S. Leavitt St, Unit 207 Chicago, IL 60612
                                   Phone:(312)754-0109 Fax: (312)600-6112
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                                   Crystal L. Johnson
                                   9800 Connecticut Dr, Crown Point, IN 46307
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                                   Attorneys for the
                                   Petitioner-Appellant, Pamela E. Veal-Hill




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   Internal Revenue Service                                             Department of the Treasury
   Small Business and Self-Employed
   230 S. Dearborn                                                      Date:
   Room 2550, Stop 4612                                                   August 31, 2015
   Chicago IL 60604-1689                                                Taxpayer ldentlfleatlon Number:

                                                                        Tax Year:
   Pamela E Hill LLC                                                      201312
   1700 E 56th Street STE 2307                                          Form Number:
                                                                          1120s
   Chicago IL 6063 7
                                                                        Person to Contact:
                                                                          THOMAS MATIAS
                                                                        Employee Identification Number:
                                                                          1000888002
                                                                        Contact Telephone Number:
                                                                          312-292-2336
                                                                        Fax Number:
                                                                          866-673-4177



                                                 CONFIRMATION

Dear Pamela E .Hill LLC:

This letter is provided to confirm an appointment to examine your federal income tax return for the year(s)
shown above.

      Place: 401 South LeSaHe                               Date: September 29, 2015
             Suite 800-X
             Chicago IL 60605                               Time: 9:00 AM



WHAT TQ EXPECT AT THE EXAMINATION

The examination is scheduled to last approximately 6 hours. During the examination, I will review the
items requested in the Information Document Request previously sent to you. It is important that you bring all
the items listed on the Information Document Request to the appointment. My goal is to complete your
examination at the initial meeting. However, depending on the results of this initial meeting and the supporting
items you provide, I may ask you to provide additional items and/or schedule a follow�up meeting. At the
completion of the examination, you may owe additional tax, be due a refund, or there may be no change to your
return.

A video presentation, "Your Guide to an IRS Audit", is available at hu,tt�::!.!./.I!...!w!.!w�i l2.!.�����· . The video
explains the examination process and will assist you in preparing for your audit.




                                                                                               Letter 3573 (Rev. 10-2010)
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If you filed a joint return, you and/or your spouse may attend. You may also have someone represent you at the
exarnination. If you will not attend with your representative, you must provide a completed Form 2848, Power
ofAttorney, or Forrn 8821, Tax Infòrrnation Authorization, by the start of the examination. You can obtain
these forms from our office, from our web site, mnwwirggogy, or by calling (800) 829-3676.



If you do not keep your appointment or provide the requested records, we will issue an examination report
showing additional tax due. Therefore, it is to your advantage to keep your appointment and provide the
records. If you are uncertain about the records needed or the examination process, please do not hesitate to call
the phone number listed above.
                                                             Singard9


                                                             Thodr P Matias
                                                             Examining Officer
                                                             1000888002
Enclosures:




                                                                                        Letter 3573 (Rev. 10-2010)
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                                                     Hl_Af]PDQl_NJMENI
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the phone number listed above.

                                                            Sincerely.


                                                            Thornas P Matias
                                                            Exarnining Officer
                                                            1000888002
Enclosures:




                                                                                      Letter 3673 (Rev. 10-2010)
                                                                                      Catafog Number 34403N
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                                           Department of rne Treasury ~intemat Revenue service               Reques! Nurnoer
Forrn 4664
(aev september2cos                     nformation Document Request                                           o001
To (Name of Taxpayer and Company Divisica or Branch)                                    Subject
PAMELA E VEAL-HíLL                                                                      ¡OR 1
                                                                                        SAlN number    Subrndted to
                                                                                                        PAMELA E VEAL-HILL
 Please return Part 2 with listed documents to requester identified be|ow               Dates of Previous Requests (minddyyyy)

 Desenption of documents requested
Tax Period(s)      201312


 P

        042
         Pensions & Annuities
            o Provide all 1099-R s
        042
         1RA Distributions
            o Provide all 1099-R's
        042
         Schedule E-Rental-241 Dyer, i lamrnand, IN 46320
            o Provide; Property Tax BHis. 1098, rnontb!v bank records (December P 2012 thru
                January 31 20i5). lease agreement liUD from purchase and any refinancina
               documents.
            o Classified issues on Schedule E:
                     042
                      Gross Receipts
                     042
                       Depreciation
        042
         Schedule E-Non Passive losses
            o Provide au tax returns for any business entity that the Taxpayer ouns rnore than 20% of
                the entim
            o Provide all K-l's issued to the Taxpayer
        042
         2013 and 20! 4 Personal Tax Returns
        042
         W-2's
        042
          1098's
        042
         Charitable Contribution Letters for all Charitable Contributions

 Additional documentation will be requested as needed.




   nfo:Tnation due by £ô426/2 1 _      _____              At next appemtment              Ma m
                    Name end T t e of Requester                                  Emp oyee D number Date (mmddyyyy)
                     Thomas P Matias, SB/SE Revenue Agent                        1000888002           08/1W2015
  Frorn              Office Location   230 S Dea born
                                                     --                                               P one 312-292 2336
                                       Roorn 2550 Stop 4612                                           Fax 866-873-4177
                                       Chicaoo L 60604-1689
Catalog Number 23145K       shqoy                 Part 3 - Requesters FHe Copy                                 Form 4564 (Re v. 9.2006)
          Case: 19-2121
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   Internal Revenue Service                                        Department of the Treasury
   Small Business and Self-Employed
   230 S. Dearborn                                                 oste:
   Room 2550, Stop 4612                                              August 31, 2015
   Chicago IL 60604-1689                                           Taxpayer identification Number:

                                                                   Tax Year:
   PAMELA E VEAL-HILL                                                201412
    1981 W 108TH ST                                                Form Number:
                                                                     1040
   CHICAGO IL 60643-3722                                           Person to Contact:
                                                                     THOMAS MATIAS
                                                                   Employee identification Number:
                                                                     1000888002
                                                                   Contact Telephone Number:
                                                                     312-292-2336
                                                                   Fax Number:
                                                                     866-673 4177




Dear PAMELA E VEAL-HILL:

This letter is provided to confirm an appointment to examine your federal income tax return for the year(s)
shown above.

      Place: 401 S LeSalle St                           Date: September 29, 2015
             Suite 800-X
             Chicago IL 60605                           Time: 9:00    AM



EHAME2LPE_£T_AllH_EE_E_X_AMSTJION

The examination is scheduled to last approximately 6 hours. During the examination, I will review the
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If you do not keep your appointment or provide the requested records, we w ill issue an examination report
showing additional tax due. Therefore, it is to your advantage to keep your appoimment and provide the
records. If you are uncertain about the records needed or the examination process, please do not hesitate to call
the phone number listed above.

                                                             Sincerely,


                                                             Thomas P Matias
                                                             Examining Officer
                                                             l000888002
Enclosures:




                                                                                       Letter 3573 (Rev. 10-2010)
                                                                                       Catalog Number 34403N
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                                                             Thomas P 2atias
                                                             Examining Officer
                                                             1000888002
Enclosures:




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                                            Department of the Treasury - Intemal Revenue Service            Request Number
Forrn 4564
(Rev. Septernber2006)                 nformation Document Request                                            coot
 Pamela E Hill LLC
                                                                                        SA N number jSubmitted to
                                                                                                         Pamela E Hill LLC
 Please retum Part 2 with listed documents to requester identirred below                Dates of Previous Requests (mmddyyyy)

 Description of documents requested
 Tax Period(s): 201312; 201412




 1. Copy of your signed Forrn 2553 (S Corporation Election)
 2. Copies of the 201312 and 201412 (if filed) Corporate Federal Tax Returns (11208).
 3. Copies of all K-1s issued by the corporation for 201312 and 201412 tax years.
 4, 2013í2 Shareholder's Federal Tax Retums (1040) for each corporate officer and/or shareholder
 owing directly or indirectly 20 percent or more of the corporation's voting stock.
 5. Each Federal income Tax Return Forms 1065, 1120, or 11208 of those corporations or partnerships
 controlled by your corporation or its shareholders for 201312.
 6. The following information for 201312:
   a.      Forrns 940 and 941
   b.      W-2's, W-3's, and W-4's
   c.      1099's (information retums filed)
   d.        1096's (Annual Summary and Transmittal of U.S. Information Retums)
 7. Shareholder's basis computations and At Risk computations for the 201312 tax year
 8. Schedule of distributions made to the shareholders in 201312.

 9. Corporate rninute book and stock certificate record.
 10. Original accounting records and books, as applicable:
    a.  General Ledger / Subsidiary Ledger (i e. Sales, Purchases, Account Receivables, Account
       Payables)
    b. General Journal / Subsidiary Journal (i.e. Sales, Purchases, Account Receivables, Account

  informstíon due by                                      At next appointment              MaiHn


                       Thomas P Matias SB/SE Revenue Agent                        1000888002         08/18/2015
  From:                                     o s3     rn                                              P         29 2336
               /                          Room 2560 Stop 4612                                        Fax 866473-4177

catalog Number 23145K       ygey rsdo_v           Part 3 - Requesters File copy                               Form 4664 (Rev. 9-2006)
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  Case: 19-2121         Document:
                   Document: 12   13     Filed: 03/19/2020
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Form 4564
(Rev September2006)                   InfOrrnation Docurnent Request                                          coo1
To (Neme of Taxpayer and Company Division or Branch)                                   subiect
 Pamela E Hill LLC
                                                                                       SAIN nurnber    Subrnitted to
                                                                                                        Pamela E Hill LLC
 Please retum Part 2 with listed documents to requester identified below               Dates of Previous Requests (mmddyyyy)

 Description of documents requested
 Tax Period(s):   201312; 201412


   c.     Cash receipts journal (records of business incorne) 1.e. Check Register
   d.     Cash disbursernents journal (records of business expenses)
   e.     Sales and purchases journals and ledgers
   f.     Listings of the Beginning and Ending Balances for Account Receivables and Account Payables
 11, All invoices and/or financing staternents for major business assets purchased and/or so d in
 201312.
 12. Accountant's workpapers regarding:
   a. Year-end worksheet reconciling books to return
   b.     Year-end Adjusting Journal Entries and Closing Entries
   c.     Year-end Bank Reconciliation
   d.     Cost of Goods Sold
   e.     Copies of financial statements
   f.     Beginning and Ending inventory Valuations
   9.     Copies of Financial Statements Prepared By Third Parties
    h.    Trial Balance
    i.    Chart of Accounts
   j.     Depreciation Schedule
 13. Copies of correspondence with IRS for the year 201312
 14. Records of all business loan activity proceeds and payments.
 14. Copies of all Credit Card Statements, including Credit Card Advances.
           a. Frorn December 1, 2012 to January 31, 2014
 15. Gross Receipts
    a-     All books, journals, ledges and work papers used in deterrnining gross receipts.
    b.     All bank statements and cancelled checks (Frorn 12/1/2012 to 1/31/2014).
    c.     Records of all business loan activity proceeds and payrnents.
           Cgp esgstate sales tax returps fogeviev(durina the exam
  information due by _0£!2Bl2Mâ_ _             __         At next appointment            Ma n


                     Thomas P Matias SB/SE Revenue Agent                         1000888002           08/18/2015
  Frorn                                                                                               Phone 312-292-2336
                                       Room 2550 Stop 4612                                            Fax. 866-673-4177

catalog Number 23145K       wwwjrsgloy           Part 3 - Requester s FRe copy                                  Form 4564 (Rev. 9-2006)
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                                                 Filed: 03/26/2020    63     63




(aev sepamde 200s __L____________
 ________            inforrnation Docurnent Request                                                            ooo
To: (hiame of Taxpayer and Company Division or Branch)                                  Subject
Parneia E Hill LLC                                                                      JDR 1
                                                                                        SAIN number     Submitted to
                                                                                                          Parnela E Hiti LLC
Please return Part 2 with listed documents to requester identiñed below                  Dates of Previous Requests (rnmddyyyy)

Descr ption of documents requested
Tax Period(s): 201312: 201412


Classified issues
     042
       Gross Receipts
            o incorne Ledger
       042
         Depreciation
            o Bring invoice/HUD frorn purchase of assets being depreciated on return for Revenue
               Agent to Review




 information due by h_                                   At next appointment               Mail in
                   Name and Title of Requester                                   Employee ID number Date (mmddyyyyi
                   Thomas P Matias SB/SE Revenue Agent                           1000888002           08/18/2016
    OE             Office Location    230 S. Dearborn                                                 Phone 312-292-2336
                                      Rcom 2560, Stop 4612                                            r'ax: 866-673-4 177

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           Case: 19-2121
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       - Department of the Treasury                                           Date!
         Internal Revenue Service                                              July 19, 2016

IRS.      Small Business and Self-Employed                                    Taxpayer ID number:
          230 S Dearborn
                                                                              Form:
          Room 2550 Mail Stop 4612                                             1040
          Chicago IL 60604-1689                                               Tax period!> ended:
                                                                               December 31, 2013
                                                                               December 31, 2014



          PAMELA E VEAL-HILL
          108 I W 108TH ST                                                     P,1nson to contact:
          CHICAGO IL 60643-3722                                                Thomas P Matias
                                                                               Contact telephone number:
                                                                               312-292-2336
                                                                               Contact fax number.
                                                                               866-673-4177
                                                                               Employee ID number:
                                                                               1000888028
                                                                               Reaponse due date:
                                                                               August18,2016

De.ar PAMELA E VEAL-HILL:
I am enclosing two copies of an examination report showing proposed changes to your tax for the periods listed
above. Review the report and tell us whether you agree or disagree with the changes by the response due date
listed above. If you have an interest in any partnerships, S corporations, trusts, etc., this report may not reflect
examinations of those entities. Changes to those accounts could also affect your tax.
If you agree with the proposed changes in the repor-t
  1. Sign and date one copy of the examination report (or agreement form if enclosed). If you filed a joint
     return, both spouses must sign.
  2. Include payment for the full amount you owe (if the report shows you owe additional tax.) to limit penalty
     and interest charges to your account. Make payment payable to the United States Treasury.
   3. Retm11 the signed and dated examination report or agreement form with your payment by the response
      due date in the enclosed envelope.
If you agree, but can't pay the full amount you owe
Sign, date, and return one copy of the examination report or agreement form, as explained above, and pay as
much as you can. You can call the person listed above to discuss payment. We explain payment options in the
 enclosed Publication 3498. The Examination Process. You can also visit ,vww.irs.gov and search "tax payment
 options" for more information about:
   •   Installment agreements
   •   Automatic payment deductions
   •   Payroll deductions
   •   Credit card payments
 If you don't enclose full payment for the additional tax, interest, and penalties, we'll bill you for the unpaid
 amounts. lf�ou �re a C Corporation. the law r�quires us to charge an interest rate 2% higher than 1}ie stan�ar<l
                                                                         . Revenue Code).
 rate on defictenc1es of $100,000 or more (Section 662l(c) of the Internal                                      (
                                                                                                               ,(fi
                                                                                                Letter 950 (Rev. 8-2014)
                                                     A3                                         Catalog Number 40390D
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If you don't agree with the proposed changes in the report
You can contact the person listed above to request a meeting or telephone conference with me. If you stiH don't
agree after the meeting or telephone conference and want to request a conference with the Office of Appeals,
you rnust take one of the following actions by the response due date:
    042
     If the total proposed change to your tax and penalties is $25,000 or less for each referenced tax period, you
     can request an Appeals conference by sending us either:
       042
        A cornpleted Form 12203, Requestfor Appeals Review (enclosed). A fulable version of this form is
        available at www.irs.gov/formspubs.
      042
        A letter that requests an Appeals conference, and explains the changes you don't agree with and the
        reasons why you don't agree.
    042
     If the total proposed change to your tax and penalties is more than $25,000 for any referenced tax period,
     you must follow the instructions in the enclosed Publication 3498 to submit a formal protest.
For Appeals to have enough time to consider your case, the statute of limitations generally must have at least
365 days remaining when Appeals receives it. If additional time is needed. we will request your consent to
extend the period the law provides to assess additional tax. lf you don't consent to extend the statute, we'll close
your case based on the proposed changes and send you a notice of deficiency (explained below). For estate tax
cases only, there must be at least 270 days remaining on the non-extendable statute of limitations when Appeals
receives the case.
If you request an Appeals conference
An Appeals officer will contact you. Appeals conferences are informal and can be by correspondence,
telephone, or in person. Appeals is an independent office and resolves most disputes informally and promptly
A conference with our Appeals office may:
    042
    Help you avoid court costs, such as Tax Court filing fees
    042
    Resolve the rnatter sooner
    Limit
    042 or prevent interest and penahies from increasing on your account
If you don't reply by the response due date
We'll process your case based on the proposed changes and send you a notice of deficiency. The notice
normally gives you 90 days to either agree to the deficiency or file a petition with the United States Tax Court,
If you petition the Tax Court, you'll generally have the opportunity for a pretrial settlement. Ifyou can't reach a
settlernent agreernent, your case will be heard in court Ifyou don't file a petition during the 90-day period after
you receive the notice of deficiency, we'll assess the arnount on the notice of deficiency, and you'll have to pay
the full amount you owe or make payment arrangements.
If you have questions, you can contact the person listed at the top of this letter.
                                                           Sincerejy.



                                                               rol.L Madison
                                                            Director, Midwest Area, Field Exam



Enclosures:
Examination Report (2)
870
Form 12203
Publication 3498                                                                            Letter 950 (Rev. 8-2014)
Envelope                                                                                    Catalog Number 40390D
             Case: 19-2121
      Case: 19-2121         Document:
                       Document: 12   13     Filed: 03/19/2020
                                     RESTRICTED                    Pages: Pages:
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                                                  Department of the Treasury-internal Revenue Service                         Date received by
Form870                                                      .                                                 .              internamevenue service
 (Rev. March1992)             W8iVer of Restnctions on Assessment and Collection of
                               Deficiency in Tax and Acceptance of Overassessment
Names and address of taxpayers (Number, street, city or fowa, Stafe, ZIP code)                            Social security or ernployer
  PAMELA E VEAL-HILL                                                                                      identification number
  1081 W 108TH ST
  CIllCAGO IL 60643-3722




                                                            increase (Decrease) In Tax and Penalties
    Tax year ended                     a                                                          Penalties
                                                           RC 6662 20%
 12/31/2013                                57,988.00                     1 ,597.60

                                                           IRC 6662 20%
                                                       i
 12/31/2014                                26,078.00 1                    5,21160




                                                                                     t




 (For instrudions, see back of form)
 Consent to Assessment and Collection
 I consent to the immediate assessment and collection of any deficiencies (increase in tax and penalties) and accept any overassessment (decrease in
 tax andpenames) shown above, plus any interest provided by law. I understand that by signing this waiver, I will not be able to contest these years in
 the United States Tax Court, unless additional deficiencies are determined for these years.

YOUR
S1GNATURE

SPOUSE'S
SIGNATURE


 TAXPAYERS
 REPRESENTATIVB


 CORPORATE           t
 NAME
 CORPORATE                                                                               Title                                       Date
 OFFICER(S)
 SIGN HERE                                                                                                                                   - ~~




                                                                     Catalog Nurnber 18894U                                    Form 870 (Rev. 3-1992)
       Case: 19-2121
Case: 19-2121         Document:
                 Document: 12   13     Filed: 03/19/2020
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                                                                               Page: 1

                                            Continuation Sheet

NAME: PAMELA E VEAL-HILL                                                       TIh

Interest on Deficiencies

Interest on Deficiencies will accrue frorn the due date of the return untfl paid.


IRC section 6662(a)

Since all or part of the underpayment of tax for the taxable year(s) is attributable to one or more of (1)
negligence or disregard of rules or regulations, (2) any substantial understatement of income tax, or
(3) any substantial valuation overstatement, an addition to the tax is charged as provided by section
6662(a) of the Internal Revenue Code. The penalty is twenty (20) percent of the portion of the
underpayment of tax attributable to each component of this penalty. In addition, interest is computed
on this penalty from the due date of the return (including any extensions).
        Case: 19-2121
 Case: 19-2121         Document:
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                                                                               Page: 2

                                            Continuation Sheet

NAME: PAMELA E VEAL-HILL                                                       TIN:

IRC section 6662(a)

Since all or part of the underpayment of tax for the taxable year(s) is attributable to one or rnore of (1)
negligence or disregard of rules or regulations, (2) any substantial understaternent of incorne tax, or
(3) any substantial valuation overstatement, an addition to the tax is charged as provided by section
6662(a) of the Internal Revenue Code. The penalty is twenty (20) percent of the portion of the
underpayment of tax attributable to each component of this penalty. In addition, interest is computed
on this penalty frorn the due date of the return (including any extensions).
              Case: 19-2121
       Case: 19-2121         Document:
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                                              Department of the Treasury-Internal Revenue Service
Form 4549-A                                incorne Tax Examination Changes                                                                1            2
(Rev. March 2013)                               (Unagreed and Excepted Agreed)                                                 Page.             of
Name and Address of Taxpayer                                                     Taxpayer identification Number                Retum Form No.:
                                                                                                                                              1040
PAMELA E VEAL-HILL
1081 W 108TH ST                                                                  Person with whom            ' Name and Title;
CHICAGO IL 60643-3722                                                            examination                  PAMELA E VEAL-HILL
                                                                                 changes were
                                                                                 discussed.
 i Adjustments to income                                                             Pened End                    Period End                  Period End

 a. Other Income                                                                          81,237.00
 b. Sch B-Ine/Loss-Prtnrship/S Corps-Passve/Non-Passve                                    54,643.00                    69,304.00
 C. Sch E1 - Depreciation Expense or Depletion                                                  493.00                      $93.00!
 d, IRA Distrïbutions                                                                     29,000.00                    10,000.00
 e. Itemized Deductions                                                                   21, 550 . 00                 14 , 941. 00
 f. Exemptions                                                                              1,560.00

 h.



 k

 m.




 2. Total Adjustments                                                                    188,483,00                    94, 838.00
 3. 'Taxable income Per Return or as Previously Adjusted                                   99 , OG6 . oo                73 , 609 .00
 4. Corrected Taxable income                                                             2 e 7 , 5 49 . no            3 6 8 - 44 7 - 00
                   Tax Method                                                         7Ax RArs                     TAx RATE
                   Riing Status                                                         s ng e                        Single
 5. Tax                                                                                   79,022.00                    40,341.00
 6. Additional Taxes / Afternative Minimum
 7. CorrectedTaxLiability                                                                 79,022.00                    40,341.00
 8. Less           a.
    Credits        b_
                   c
                   d.
      Baance(Lino71esstatalofLines8athnt8d)                                               99,022.00                     4C,34Loo
 10. Plus     a.
      Other   b.
      Taxes   c.
              d.

 11. Totai corrected Tax Uabdity (Line 9 plus Lines 10s thru 100)                         79, 022 . 00 '                40 , 341. 00
 il Total Tax Shown on Return or as Previous!y Adjusted                                   21, 034 . 00 i                14 , 263 00


                        b.
                        c.

 14. Deficiency-increase in Tax or (Overessessment - Decrease in Tax)
     (Line 11 less Line 12 adjusted by Lines 13a through 13c)                              5 7 , 9 8 a . 30             2 254
                                                                                                                          , 078 00



 1% Balance Duc or (Overpayment} - (Line 14 adjusted by Line 15)
    (Excluding interest and penalties)                                                     57       442
                                                                                                     0°                 26 °        0°




 Catalog Number 23110T                                               wwwjrs gov                                            Forrn 4549-A (Rev. 3-2013)
                 Case: 19-2121
          Case: 19-2121         Document:
                           Document: 12   13     Filed: 03/19/2020
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Form 4549-A                                    Income Tax Examination Changes                                                            2
(Rev. March 2013)                                    Una reed and Exce ted A reed
                                                                                       Taxpayer identificanon Number            Retum Form No
                                                                                                                                             1040
                                                                                           Period End              Period End             *Period End
17, Penaltiest Code Sections
8. Accuracy-IRC 6662                                                                              11, 597.60                    9 6r

c.
d.
e.
f.




k.



n.
16. Total Penalties                                                                               11, 5 97 . 60         5 , 2 15 - 6 0

        Underpayment attributable to negligence: (198M987)
        A tax addition of 60 percent of the interest due on the
        underpayment will accrue until it is paid or assessed.
        Underpayment attributable to fraud: (1981-1987)
        A tax addition of 50 persent of the interest due on the
         underpayment will accrue until it is paid or assessed,
        Underpayment attributable to Tax Motivated Transactions (TMT).
        Interest will accrue and be assessed at 120% of underpayment                                     a oc                   o oo
        rate in accordance with 1RC 6621(c).

 19. Surnmary of Taxes, Penalties and interest:
  e. Balance due or (Overpsyment) Taxes - (Line 16, Page 1)                                       57 , 9 8 8 .00       26, 078.00
     b. Penalties (Line 18) - computed to 07 /19/2016                                             11, s97 . 60          S,215.60
     c. interest flRC§6601)-computedto oa/18/2016                                                  s,as4.lo             1, 411. 83
     d. TMT Interest-cornputedto         0s/1a/201s          (on TMTunderpayment)                          0.00                 0. 00
     e. Amount due or refund - (sum of Unos a, b, e and d)                                        74 , 939 .70         32,705.43

 Other Information:




 Ëxaminer's Signature
 Narne                                                       Employee ID:              Office:                                           Date:
     Thomas P Matias                                                1000888002 SBSE Compliance Chicago, I                                 07/19/2016

 The Internal Revenue Service has agreements with state tax agencies under which information about federal tax, including increases or decreases, is
 exchanged with the states. If this change affects the arnount of your state income tax, you should amend your state return by filing the necessary
 forms.
     You may be subject to backup withholding if you underreportyour interest, dividend, or patronage dividend income you esmed and do not pay the
     required tax. The IRS rney order backup withholding (withholding of a percentage ofyourdividend and/or interest payments) if the tax remains unpaid
     after it has been assessed and four notices have been issued to you over a 120-day period.
 Catalog Number 23110T                                                      wwwJrs.gov                                    Form 4549-A (Rev. 3-2013)
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                                                                                                                                                Page 1 of       1

              °""32"
      Rev. June 2011)                              Statement - Income Tax Changes
t Name(s) of taxpayer(s)                                                             2.        254
                                                                                               Notice of Def ciency                     Other
PAMELA E VEAL-HILL                                                                             Settlerrent Cornputation

3. Taxpayer dentificat on Nurnber                      4. Forrn number               5 Docket number                             6 Office symbo s
                                                   .
                                                                      1040
                                                                                                   Tax Year(s) Ended
L Adjustments to income                                                              Year: u/n/2cu Year: 12/n/2a1
 8. Other Income                                                                                 81,237 00
 b. seh sane/Loss-Prtnrship/s corpc-Passve/Non-Passve                                            54,693 00                   69,304.00
 C. Beh E1 - Depreciation Expense or Depletion                                                        193.00                      593.00
 d. TRA Distributions                                                                            29,000.00                   10,000,00
 e    Itemius neducuans                                                                          21,5S0.00                   14,941.00
 f    Exemptions                                                                                   1,sso.co


 h.
8. Total adjustments                                                                            la a , a a 3 . Do
9. Taxabte income as shown in
       Preliminary letter dated
        Notice of deficiency dated
                                                                                                 99,066.00                   73,609.00
10. Taxable income as revised
it Tax                                                                                        79.022 00                     40,341 001
                       Tax Method                                                         TAX RATE                       AX RATE
                              tatus                                                            Single                     Single
12. Alternative tax, if applicable
13. Alternative minimum tax (Starting in tax year 2000)
14 Corrected tax liability - (lesser of line 11 or 12 plus line 13)                               7 9, 022 . oc              4 c. 3n 00
15. Less credits j a

                      c
 18. Balance - (//ne 14 less total of lines 15a - 15c)                                            79, 022 00                 40 3         0
 17. Plus other
     taxes
                        c
 18. Tota! corrected tax labbity - (ine 16 plus ines 17a - 17c)                                         c         o              o 34    oc
 1R Total tax shown on return or as previously adjusted                                           21, a34 .ca                1     263 00
IEÃ 540jös~töen
      merease or                           - - - --- --
      (decrease) to                                                                                                                           ----
                        c
 2t Deficiency - narease n tax (overassessment decreäse in tax)
     (line 18 less line 19 edjusted by lines 20a - 20c)                                                 9e B .00             26 ,07 8 .00
 22. Adjustments to prepayment credits - increase (decrease)
 23. Balance due or (Overpayment) excluding interest and pensities
     (line 21 adjusted by line 22)                                                                          e o                    an oo
 24. Penalties and/or Additions to Tax (listed below)
 Accuracy-IRC 6662                                                                                11 597 6                         21B 60




      "   *      "          u®88   '!*íM   1%¾d!&pshm4*e          .



  Form 5278 (Rev. 6-2011) Catalog Nurnber W35U                               pubbs no.iragov                Departrnent of the Treasury - internal Revenue Service
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                          Honorable Judge Pamela E. Hill-Veal (ret.)
                            Circuit Court Judge of Cook County
                                    peveal@hotmail.com
                                      1-773-490-6869

                                        EDUCATION
J.D.  - With Certificate in Health Care Law                         Feb. 1988
      DePaul University
M.S. - Marketing Communications                                     Aug. 1978
      Roosevelt University
M.Ed. - Counseling and Guidance                                     June 1975
      Loyola University of Chicago
B.S. – Psychology
      Western Illinois University                                   June 1974

                              LICENSED TO PRACTICE LAW
                                 States of Illinois and Michigan
                            District of Columbia Court of Appeals
                     U.S. District Court for the Northern District of Illinois
                    U.S. Court of Appeals for the Sixth and Seventh Circuits
                                  United States Supreme Court

                                    LEGAL EXPERIENCE
Litigation Consultant                                               2013 - Present
EEO Investigator                                                    2013 – Present
         Conduct Full-Range of EEO Investigations
Circuit Court of Cook County                                        2004-2012
Full Circuit Cook County Judge
         Appointed in 2004 by the Illinois Supreme Court
         Elected Countywide in 2006
         Retained in 2012
Atty. Pamela E.H. Veal                                              1990-2004
         Private Law Practice
Chicago Dept. of Administrative Hearings                            2002-2004
         Administrative Law Officer
Metropolitan Water Reclamation District                             1995-2004
Of Greater Chicago
         Civil Service Board – Member/Chairperson
Attorney Registration & Disciplinary Commission                     1991-2004
         Inquiry Panel – Member/Chairperson
Illinois State Bar Examination – Grader
         July-1994: Feb.-1995: Feb.-1996: July-1996
French, Kezelis & Kominiarek                                        1989-1990
         Associate Attorney
Cook County Office of the Public Defender                           1988-1989
         Assistant Public Defender



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                                 RELATED EXPERIENCE

Chicago State University
      Asst./Assoc. Professor – Criminal Justice Department       Over 10 years
      Instructor - Speech/Psychology                             19 years (periodic)
Chicago Urban League
      Communications Director                                    1 ½ years
WFMY/TV – WCIA/TV – WILL/Radio – WHPK/Radio
      News Reporter/Producer                                     2 ½ years
Chicago Board of Health/Friendship Medical Center
      Clinical Therapist/Counselor                               5 ½ years

                                  BOARD MEMBERSHIP

                        DePaul Law School Black Alumni Foundation
                                   The Lost Boyz, Inc.
                                The Bernie Mac Foundation

                              CERTIFICATES and TRAINING

                2017 EEO Investigator Refresher Training – Chicago, Illinois
              2016 EEO Investigator Refresher Training – Nashville, Tennessee
            2015 EEOC Training Institute – Phoenix Technical Assistance Seminar
            2014 EEOC Training Institute – Phoenix Technical Assistance Seminar
              2013 EEO Investigator Training in the Federal Sector – NEEOISO
   (including: Certification of Completion of the EEO Complaint Process Training – USPS)
                        2012 EEO Training for New EEO Investigators
                             2000 Advanced Arbitration Workshop
                             Alcoholism Education and Prevention
                                    American Sign Language
                          Rape Prevention – Campus and Community
                                 Training in Crisis Intervention
                            Training in Grantsmanship for Education
                          Training in Marriage and Family Counseling

                                      PUBLICATIONS

                   Trial Practice and Procedures – 1993: 1996 (2nd Edition)
                           Criminal Procedure: A Workbook – 2003




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                                                      Honorable Pamela Hill-Veal
                                  RETIRED COOK COUNTY CIRCUIT COURT JUDGE

                                 Judge Pamela Hill-Veal was appointed as a judge to fill a vacancy
                                 in 2004, was elected to the Cook County Circuit Court in 2006 and
                                 retained as a Circuit Court Judge in 2012.

                                 At the time of Judge Hill-Veal’s retirement, she was assigned to
                                 the municipal division where her docket primarily included cases
                                 involving small claims, breach of contract, and insurance matters.

                                 Prior to becoming a judge, she had a successful private practice
                                 where she concentrated in domestic relations matters.

                              During Judge Hill-Veal’s time as a sole practitioner, she served in
                              several capacities including: an administrative hearing officer with
                              the Chicago Department of Administrative Hearings, a Civil
                              Service Board member/chairperson of the Metropolitan Water
                              Reclamation District of Greater Chicago, and as a
member/chairperson for the Attorney Registration & Disciplinary Commission’s Inquiry Panel.

Earlier in her career, Judge Hill-Veal was an associate attorney for the law firm of French, Kezelis
& Kominiarek and an Assistant Cook County Public Defender for the Cook County Public
Defender’s Office.

She was also an Associate Professor in the Criminal Justice Department at Chicago State
University where she published two books: Trial Practice and Procedures – 1993: 1996 (2nd
Edition) and Criminal Procedure: A Workbook – 2003.

Before her entry into the legal field, Judge Hill-Veal was an instructor at Chicago State University
where she taught Speech and Psychology. She was also Communications Director for the Chicago
Urban League, News Reporter and Producer for WFMY/TV, WCIA/TV, WILL/Radio and
WHPK/Radio. Additionally, she was a clinical therapist and counselor for the Chicago Board of
Health and Friendship Medical Center.

Judge Hill-Veal received her Bachelor of Science degree in Psychology from Western Illinois
University, her M.Ed. in Counseling and Guidance from Loyola University of Chicago, her M.S.
in Marketing Communications from Roosevelt University and her Juris Doctor, with a Certificate
in Health Care Law, from DePaul University School of Law.

She is licensed to practice law in several jurisdictions, including Illinois and Michigan, District of
Columbia Court of Appeals, U.S. District Court for the Northern District of Illinois, U.S. Court of
Appeals for the Sixth and Seventh Circuits, and the United States Supreme Court.

Judge Hill-Veal is member of Alpha Kappa Alpha Sorority, Incorporated.




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 USTAX COURT                     USTAX COURT                                    USTAXCOURT
   RECEIVED                       eLODGED                                          FILED

   AUG 14 2018                   AUG 14 2018                                      SEP 05 2018
     8:11 PM




PAMELA E. VEAL-HILL,
                   Petitioner,
                                                  ELECTRONICALLY FILED

                v.                                Docket No.   1517-17


COMMISSIONER OF INTERNAL REVENUE,
                 Respondent




        PETITIONER'S FIRST AMENDMENT TO MOTION FOR
       REASONABLE LITIGATION OR ADMINISTRATIVE COSTS




                                    SERVED Sep 05 2018
                                            A11
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                       UNITED STATES TAX COURT
                              WASHINGTON, DC 20217




PAMELA E. VEAL-HILL,
   Petitioner

         v.                                 Docket No. 1517-17.

COMMISSIONER OF
INTERNAL REVENUE,
    Respondent



          MOTION FOR PROPOSED AMENDMENT TO
      THE PETITIONER'S MOTION FOR ATTORNEY'S FEES
     PURSUANT TO INTERNAL REVENUE CODE $ 7430 AND
  INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS AND
                     OTHER RELIEF

     NOW COMES Pamela E. Veal-Hill, Petitioner, by and through her
attorney, Crystal L. Johnson ("Johnson"); and, moves this Court to grant an
Order, pursuant to Rule 41, for a Motion for Proposed Amendment to the
Petitioner's Motion for Attorney's Fees pursuant to Internal Revenue Code §
7430 and Intentional Infliction of Emotion Distress and Other Relief filed on
June 25, 2018. The amendments are stated as follows:


      1. Add paragraph 24:
              The audit report ("report") dated July 19, 2016, listed $81,719.30
         of "unreported income". Eighty one percent (81%) of the
         "unreported income" was an unreconciled deposit of $66,000. The
                                        1
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        deposit was made on August 26, 2013; and, attached hereto and
        made a part hereof as Exhibit "I" is a copy of the audit report page
        indicating the Unreconciled Deposits.


           This deposit was not an "unreconciled deposit". The Petitioner
        provided Matias with a copy of her bank statement for the period
       August 1 - September 2, 2013. Attached hereto and made a part
       hereof as Exhibit "J" is a copy of the Petitioner's CitiBank
        statement for the period August 1 - September 2, 2013. Exhibit "L "
        clearly indicates that a deposit of $66,000 was made on August 26,
        2013, and a withdrawal for the same amount was made on the same
        date.


           A basic Accounting Axiom is that a debit (+) plus a credit (-) in
       the same amount equals $0.


           Matias should not have listed $66,000 as an "unreconciled
        deposit" when the Petitioner provided him with the details of the
        real estate purchase that took place on August 26, 2013 (the same
        date of the $66,000 deposit and withdrawal).


           Also attached as Exhibit "K", is the closing statement for the
       Petitioner's property located at 4800 Chicago Beach Drive, #1404.
       The statement indicates a total of $65,609.61 withdrawn from the

                                     2
       Case: 19-2121
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        Petitioner's account on August 26, 2018 to purchase the said
        property.


           During the appeal of Matias' second audit report dated December
        8, 2016, the Petitioner submitted an Affidavit that clearly explained
        the real estate transaction that occurred on August 26, 2013. Page 2
        of the Affidavit, dated August 12, 2017, is attached hereto and made
        a part hereof as Exhibit "L".


           It is clear that although the Petitioner provided Matias with a
        copy of Exhibits "J" and "K", he disregarded the supporting
        documentation and negligently reported $66,000 as unreported
        income. This is one example of the many instances that caused the
        Petitioner to suffer emotionally and physically.


    2. Add paragraph 25


       The Petitioner's suggested methodology and calculation of actual
       damages is a total of $171,553.69. The details are as follows:


       a. Attorney Fees and Other Related Costs: $44,368.50 (see
          Exhibit "G")




                                        3
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                                RESTRICTED                    Pages: Pages:
                                                Filed: 03/26/2020    63     63
 Ě © ɳ .ɑGɳɳȘ<'ǳɳ                      sČĥɳ          Iɳ          :9RɳJLƚƛɳKɳŷɳEE»Êɳ¬8³¦Yw ɳ
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        8' Type of L:oan                                   -




        c Note' 71r'sfutm is famished to give you a statement ofactual settlement costs. .Amounts paid to and by th& settlement �nt ar:e �own.
          ·..   > · lt�s maTfled "(p.o.c,)" were paid Of.J1$1de tha closing; they are shown here for info11T1atwnal purposes and are not mcludedin the. totals.

        D. Name and Address of Buyer:                                                                                                           E. Nal1l9 andAddressofSeller.
           Pamela E. Veal                                                                                                                          Esta� ofFeme!!reSSHoskins
                                                                                                                                                   4800 Chicago Beach D.riVe. #1404n
                                                                                                                                                   Chicago JL 60615

                roµerty location:                                                                                                                   H. SettlernentAgent
                800 Ctlicago Bea                                                                                                                       Professional National TIUe NelWtirk, Inc_
                  icago, IL 80615                                                                                                                   Plate of SettJement
                ook County, . lllino                                                                                                                   70 West Madison
                                                                                                                                                       Suite 1600 .
                                                                                                                                                       Ctilcago•. lL 80802

   J•. Summary of Buyer's Transaction                                                                                                                                                                                                                        K.. S ummary of Seller's Trarwattion
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                                                                                                                                                                                                                                                             400. Gress Amount Due to Seiter
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    100. Gl1lSS Amount Oue from Buyer
                                                                                                                                                                                                                                                             401. ·Contract sates price                                                                                                                                                                                                    65,000.00
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   101. Contract sates price                                                                                                                                       .·
                                                                                                                                                                                                                  65,000.00                                                                                                                 ·.



   102. Personal property                                                                                                                                                                                    · .
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                                                                                                                                                                                                                                                             403.
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   103. Settlement charges to buyer {line.1400)                                                                                                                                                            . .         2,64ft00,                                                                                                  ·.
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   104,                                                                                                                                                                                                                                                      404,    .· ·.               .·

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.. Adjustments for items paid by seller in advance
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   106. Citv/Town taxes                                                                                                                                                                                                                                      408. City/Town taxes                                   .
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   107, County taxes                                                                                                                                                                                                                                 ·.
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                                                                                                                                                                                                                                                             407, Count\/ tax�                                                                                                                                                                                         .·




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   108. Assessments                                                                                                                                                                        .·                                         ·.
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                                                                                                                                                                                                                            735.86
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   109. Monlh!vasesssmenl                                                                                                                           ·
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         120, Gross amountdue from Buyer                                                                                                                                                  65.735.ae               68,383,86                                  428•. Gross amount due to Seller . ...                                                                                                      • ..                                                                   ·.



                                                                                                             500. Reductions in Amoqnt Due kl Seller
                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ..


          200. Amounts Paid. by or In BehalfofBuyer                                                                                                                                                        .. .


         201. Deposit or eamest money                                                      1,000.00          501. Excess deposit {see Instructions)                ·.
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         202. Princloal amount of new loan(s}                                                                502. SetU.ement chames to seller1nne 1400}
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         203. El<isting loan(s} taken. subiect to                                                            503. Existing loai,fs} taken subject to ··.                                                                                                                                                                                                              .·


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         204.                                                                                                                                                            · . Chase
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                                                                                                                                                                                           18,018.29 I
         205.                                                                                              . 505, Payoff of second mortoage loan
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         207. OWriersPortcy Credit                                                         1,020.00
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         209.                                                                                                509.
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         Adjustments for items unpaid by seller
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         210. Citvffown taxes                                                                                510. Citv/Tovm taxes
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         211. County taxes          01/0'1/13 to 08126(13                                    754.25          511. County taxes          01/01/13 to 08126(13
                                                                                                                                                                                                                                                                                                                                                                                                 .


                                                                                                                                                                  · .·                         754.25             .·


         212 •. Assessments                                                                                  512. Assessments
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         213; Countv taxes 07/01/2012 to 12/31/2012
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                                                                                                             513. Cotmty taxes 07/0112012 to 12/31/2012
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         214.                                                                                       ..
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         215.                                                                                                515, ·.·
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         217.
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         216.                                                                                                518.                                                          ..
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         21$.                                                                                                519.                  ·.                                                                 !
         220•.Total paid by/for Buyer
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                                                                                           2,77425           520. Total reduction amount due Seller                                       31,201.44
          300. Cash at Settlement from/to Buyer                                                              600. Cash at Settlement from/to Seller
                                                                                                                                                                                                                                                                                                                                                                                                         · ..                                   ·.              . .·




         301. Gross amount due from auver {Line 1201                                     68,383.86           601. Gross amount due to Seller7Une 42m
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         302. Less amount paid by/fur Buyer rune 220)
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                                                                                                                                                                                           65,735.So
                                                                               (           2,774.25) 602. Less reductions due. seller (Line 520)                                                                                                                                                                                                                                                                                                           H
                                                                                                                                                                                           31.201,�")
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         303. CASH FROM BUYE�                                                            65,609.61           603•. CASH TO SELLER
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        The Public: Reporti119 Burden rortlus collection of informa\ion lsestlmated 35mlnutes pe
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        designed \O provide the parties to a Rl:SPAllllvered transaciion wllh il1formation during the se!ll                                          ·           •· lhis � is·�       ·
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       Case: 19-2121
Case: 19-2121         Document:
                 Document: 12   13     Filed: 03/19/2020
                               RESTRICTED                    Pages: Pages:
                                               Filed: 03/26/2020    63     63




       In August of2013, I purchased an estate sale llllit at 4800 Soutll Chicago Beach Drive for
$65,000.00. !provided $1000.00 earnest m.oney. Bank ofAmerlcii provided me acredi.t line on
July 17, 2013 and it made a deposit into my Citibank account on July 19, 2013 in the amount of
$50,000.00, lwas askedtobrlnga ch.eclt in the am0t111t of $66,000.00 to closing� Closing was
set for August 26, 2013. I obtained a $66,000.00 cashier check from Citibank - Beverly location
on August 26, 2013 at l 0;44aro. Afclosing, the title company would not accept a check in that
amount. I was asked to splitthe check. I went to Citibank .... Dearborn and Washington Streets
location andtb.e $66,000.00was re-depositedin my checking acoount. I obtained 2 checks: one
in the amount of $50,000.00   and the other 1nthe amountof$15,609.6J. This was done at
1 :57pm on August 26,20 B.. The mnount offunds for the closing was $65,609.61. The credit
linefunds were bemgpaid back to Bank ofAmerica on a monthly basis. It was paid in fuUon
February 27,2015. (see Exhibits #8- #13)




:::7.:: } ss

The undersigned, a IlOtary public in andJor.the above county and   state, certifies that Pamela£.
Hill-Veal is known to me to be the same person whose name is subscribed as Taxpayer�
Petitioner to the foregoing affidavit (properties), appeared to me in person and acknowledged
signing the instrwnentas her free and voluntary act




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